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                                                                     #683
%A0 245B        (Rev. 12/03) Judgment in a Criminal Case
                Sheet 1



                                           UNITEDSTATESDISTRICTCOURT
                                                SOUTHERN           District of      ILLINOIS
UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
v.
CINDY J. SIMS
                                                                         Case Number:                        04CR40015-006-JPG
                                                                         USM Number:                         06285-025
                                                                         Michael S. Ghidina
                                                                         Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)           1 of the Fifth Superseding Indictment.
7
     pleaded nolo contendere to count(s)
     which was accepted by the court.
0 was found guilty on count(s)
-
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                        Offense Ended             Count
21 U.S.C. 846                       Conspiracy to Manufacture 50 Grams or More of a Mixture and              09/25/2005       lsssss
                                    Substance Containing Methamphetamine




       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                          k              of this judgment. The sentence is imposed pursuant to


- The defendant has been found not guilty on count(s)
0 Count(s)
-                                                           - is   Q are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the Unlted States attorney for this district within 30 da s of any change of name, resjdence,
or mailing address until.al1 fines, restitution,,costs,and specla1assessme?h imposed by t h ~judgnent
                                                                                               s         are fu& paid. If ordered to pay rest~tution,
the defendant must notify the court and United States attorney of material changes in economc circumstances.

                                                                          May 19.2005
                                                                          Date of Imposition of Judgment




                                                                         J. Phil Gilbert, District Judae
                                                                         Name and Title of Judge
                  Case 4:04-cr-40015-JPG                   Document 366 Filed 05/25/05                  Page 2 of 6        Page ID
                                                                     #684
A 0 245B        (Rev. 12/03) Judgment in Criminal Case
                Sheet 2 - Imprisonment

                                                                                                         Judgment - Page    2
 DEFENDANT:                        CINDY J. SIMS
 CASE NUMBER:                      04CR40015-006-JPG

                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of      78 months on Count lsssss.




     x     The court makes the following recommendations to the Bureau of Prisons:
           That the defendant be placed in the Intensive Drug Treatment Program.




     x     The defendant is remanded to the custody of the United States Marshal.

     Cl The defendant shall surrender to the United States Marshal for this district:
     -
           Cl
           -      at                                     - a.m.     g p.m.        on

           -      as notified by the United States Marshal.

     - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           -      before 2 p.m. on

           -      as notified by the United States Marshal.

           -      as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                              to

 a                                                         , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                                BY
                                                                                       DEPUTY UNITED STATES MARSHAL
                Case 4:04-cr-40015-JPG                   Document 366 Filed 05/25/05                    Page 3 of 6         Page ID
                                                                   #685
A 0 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 - Superv~sedRelease
                                                                                                           Judgment-Page      3
 DEFENDANT:                    CINDY J. SIMS
 CASE NUMBER:                  O4CR4OO15-006-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :           4 years on Count 1sssss




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detenrnned by the court.

 -    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 B
 -    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 -    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)

 - The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule od~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or ad+nister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or admnistered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the pro%ationofficer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as directed by the robation officer, the defendant shall notify third parties of risks that may be occasion* by ,the defendant's criminal
           record or ,persona? hstory or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                                   Judgment-Page    4
DEFENDANT:                  CINDY J. SIMS
CASE NUMBER:                O4CR4OO 15-006-JPG

                                           SPECIAL CONDITIONS OF SUPERVISION
          The defendant shall partici ate in a program of mental health treatment as directed by the probation officer, until
                                            B
such time as the defendant is release from the program by the probation officer.

                                                                                i
  The defendant shall pay any financial penalty that is im osed by this udgment and that remains unpaid at the
                                                                  'I'
commencement of the term of su ervised release. The efendant shal pay the fine in installments of $10.00 or ten percent
                                       K
of her net monthly income, whic ever is greater.
  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any re uested financial information.. The defendant is advised that the probation office may share financial
                        %
information with the inancial Litigation Unit.
                                                           from income tax refunds, lottery winnings, judgments, and/or any other
                                                           outstanding court-ordered financial obligation. The defendant shall
                                                      the receipt of any indicated monies.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                         P
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence and/or partici ation in a residential treatment facility. An partici ation will require complete abstinence from all
                            R                                                 6'       g
alcoholic beverages. T e defendant shall pay for the costs associate with su stance abuse counseling andlor testing based
on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
counseling.
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A 0 245B   (Rev. 12/03) Judgment in a Criminal Case
           sheet 5 - criminal Monetary Penalties
                                                                                                      Judgment - Page       5
 DEFENDANT:                        CINDY J. SlMS
 CASE NUMBER:                      04CR40015-006-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          -
                                                                          Fine                                Restitution
 TOTALS            $ 100.00                                           $ 200.00                              $ -0-



 -
 0 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

 -
 (7 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned .ayment, unless specified otherwise ~n
                                                             41
     the priority order or percentage payment column elow. However, pursuant to 18 Q s . ~$ .36646), a11 nonfederal vict~rnsmust be pald
     before the United States is paid.

 Name of Pavee                               Total Loss*                       Restitution Ordered                  Prioritv or Percentape




 TOTALS                              $                                       $


 -    Restitution amount ordered pursuant to plea agreement $

 -    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      x    the interest requirement is waived for the              fine    O restitution.
      - the interest requirement for the              g   fine    g restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110,11OA,and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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           (Rev. 12/03) Judgment in a Criminal Case
                                                                #688
A 0 245B
           sheet 6 - schedule of Payments
                                                                                                         Judgment - Page
 DEFENDANT:                 CINDY J. SIMS
 CASE NUMBER:               O4CR4OO 15-006-JPG

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
 A    x o Lump sum payment of $                               due immediately, balance due




 B    2    Payment to begin immediately (may be combined with               C,       -
                                                                                     U D, or         F below); or

 C    2    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D    o Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    g Payments are due immediately, through the Clerk of the Court, but may be paid from prison earnings in compliance with the
            Inmate Financial Responsibility Program. Any Financial penalties that remain unpaid at the commencement of the term of
            supervised release shall be paid at the rate of $           per month,         % of defendants monthly gross earnings,
            whichever is greater.

 F    x     Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release the defendant shall make monthly payments in the amount of $10.00 or ten percent of his net monthly
           income, wh~cheveris greater.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment,
                               Y
 imprisonment. All cr~minamonetar penalties, except those payments made throug
 Responsibility Program, are made to tge clerk of the court.
                                                                                             Ear  ent of criminal monetary penalties is due dur*
                                                                                                 e Federal Bureau of Pr~sons'Inmate Financia   H
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 -
 0     Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 -
 0     The defendant shall pay the cost of prosecution.
 -
 D     The defendant shall pay the following court cost(s):
 -     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in .the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
                                                        1
 (5) fine interest, ( 6 ) commmty restitution, (7) pena ties, and (8) costs, lncludlng cost of prosecution and court costs.
